 Case 1:17-cr-00036-GNS Document 34 Filed 02/27/19 Page 1 of 1 PageID #: 174




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                AT BOWLING GREEN
                         CRIMINAL ACTION NO: 1:17-cr-36-GNS
                                 Electronically Filed


UNITED STATES OF AMERICA                                                       PLAINTIFF

vs.


DANNY BUTLER                                                                  DEFENDANT


                                      ORDER


       This matter having come before the Court on motion of Defendant for a

continuance, the Court having considering the record herein, and the Court being

otherwise duly and sufficiently advised, ORDERS as follows:

       That Defendant’s motion for a continuance from his sentencing date set for

March 4, 2019 is hereby continued until March 21, 2019 at 9:00 a.m. CDT.




                                                          February 26, 2019




                                          1
